               Case 19-05688-dd                Doc 1        Filed 10/29/19 Entered 10/29/19 17:15:34                         Desc Main
                                                            Document      Page 1 of 63
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     District of South Carolina          (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Jennifer
                                        __________________________________________________            Matthew
                                                                                                     __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Lee
                                        __________________________________________________            Ormiston
                                                                                                     __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Stepp
                                        __________________________________________________            Coons
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Jennifer Lee Richmond
2.    All other names you
                                        Jennifer Lee Edds
      have used in the last 8
      years                             Jennifer Lee Coons
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           6    8    4    1                                        2    5    2    8
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


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                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                
                                 ✔ I have not used any business names or EINs.                
                                                                                              ✔ I have not used any business names or EINs.

     Identification Numbers
     (EIN) you have used in      _________________________________________________            _________________________________________________
     the last 8 years            Business name                                                Business name

     Include trade names and
                                 _________________________________________________            _________________________________________________
     doing business as names     Business name                                                Business name



                                 _________________________________________________            _________________________________________________
                                 EIN                                                          EIN

                                 _________________________________________________            _________________________________________________

                                 EIN                                                          EIN



5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 520 Stone Creek Drive                                        _________________________________________________
                                 _________________________________________________
                                 Number     Street                                            Number     Street


                                 _________________________________________________            _________________________________________________


                                 Charleston                              SC
                                 _________________________________________________
                                                                                   29414      _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code

                                 Charleston County                                            _________________________________________________
                                 _________________________________________________
                                 County                                                       County


                                 If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                 above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                 any notices to you at this mailing address.                  any notices to this mailing address.


                                 _________________________________________________            _________________________________________________
                                 Number     Street                                            Number     Street

                                 _________________________________________________            _________________________________________________
                                 P.O. Box                                                     P.O. Box

                                 _________________________________________________            _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                  
                                 ✔ Over the last 180 days before filing this petition, I      
                                                                                              ✔ Over the last 180 days before filing this petition, I
                                       have lived in this district longer than in any other      have lived in this district longer than in any other
                                       district.                                                 district.

                                  I have another reason. Explain.                             I have another reason. Explain.
                                       (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                      
                                      ✔
                                        Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.   District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________


                                         District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                No.    Go to line 12.
       residence?                     
                                      ✔ Yes.   Has your landlord obtained an eviction judgment against you?


                                                
                                                ✔   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




       Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor         
                                        ✔ No. Go to Part 4.
      of any full- or part-time
      business?                          Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                        
                                        ✔ No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any            
                                        ✔ No
      property that poses or is
      alleged to pose a threat           Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit              
                                                                                                     ✔ I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                           
                                           ✔   No. Go to line 16b.
                                              Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                           
                                           ✔   Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________

17.   Are you filing under
      Chapter 7?                       No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do            1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you           
                                      ✔ 50-99                                   5,001-10,000                            50,001-100,000
      owe?                             100-199                                 10,001-25,000                           More than 100,000
                                       200-999
19.   How much do you                  $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                       
                                      ✔ $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                  $0-$50,000                             
                                                                               ✔ $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                           $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                       $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                       /s/ Jennifer Lee Stepp
                                         ______________________________________________              _____________________________
                                                                                                       /s/ Matthew Ormiston Coons
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         10/29/2019                                                   10/29/2019
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                _________________________________
                                  /s/ Sean Markham                                                  Date           10/29/2019
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Sean Markham
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Markham Law Firm, LLC
                                   _________________________________________________________________________________________________
                                   Firm name

                                    PO Box 20074
                                   _________________________________________________________________________________________________
                                   Number Street

                                   _________________________________________________________________________________________________

                                    Charleston                                                      SC            29413
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone 888-327-0054
                                                 ______________________________         Email address
                                                                                                        sean@markhamlawsc.com
                                                                                                        _________________________________________



                                    76088                                                           SC
                                   ______________________________________________________ ____________
                                   Bar number                                              State




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                Jennifer Lee Stepp

                Matthew Ormiston Coons

                                   District of South Carolina




Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion


                                               Summary


Pa rt 1 :   Sum ma rize Your Asse t s




   Schedule A/B: Property
                                         Schedule A/B
                                                                                                         350,000.00


                                                  Schedule A/B                                           20,646.66

                                          Schedule A/B
                                                                                                         370,646.66


Pa rt 2 :   Sum ma rize Your Lia bilit ie s




   Schedule D: Creditors Who Have Claims Secured by Property
                                              Amount of claim,                          Schedule D       612,232.00

   Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                         23,253.80
                                                                       Schedule E/F

                                                                         Schedule E/F
                                                                                                         2,154,921.06


                                                                                                         2,790,406.86


Pa rt 3 :   Sum ma rize Your I nc ome a nd Ex pe nse s


   Schedule I: Your Income
                                                        Schedule I
                                                                                                         11,122.68

   Schedule J: Your Expenses
                                                 Schedule J                                              11,022.00
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                                                                                                 if known




Pa rt 4 :   Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords




    ✔




                                                    Consumer debts


    ✔




              Statement of Your Current Monthly Income




                                                                            Schedule E/F




                      Schedule E/F

                                                                                                            0.00

                                                                                                       23,253.80

                                                                                                            0.00

                                                                                                     351,483.00

                                                                                                             0.00

                                                                                                        22,819.44


                                                                                                       397,556.24
              Case 19-05688-dd
Fill in this information                    Doc
                         to identify your case and1    Filed
                                                  this filing:      10/29/19 Entered 10/29/19 17:15:34                             Desc Main
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Debtor 1
                    Jennifer Lee Stepp
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Matthew Ormiston Coons
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of South Carolina District of __________
                                                                                    (State)
Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 110   Brynmoor Ct
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                          350,000.00
                                                                                                                   $________________   350,000.00
                                                                                                                                     $_________________
                                                                     Investment property
             Goshen                   CT     06756                                                                 Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee  simple
                                                                                                                   __________________________________________

                                                                  Debtor 1 only                                    Check if this is community property
             _________________________________________
             County                                              
                                                                 ✔ Debtor 2 only

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




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1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  350,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Ford
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    F150
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                 ✔ Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  127000                                                                                  entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           2,000.00                  2,000.00
   Condition:                                                     Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

    3.2.           Dodge
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Ram
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2017                          
                                                                 ✔ Debtor 2 only
            Year:                 ____________                                                                            Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
                                  27000
            Approximate mileage: ____________                     At least one of the debtors and another
        Other information:
                                                                                                                           28,275.00
                                                                                                                          $________________          0.00
                                                                                                                                                    $________________
   Lease. See Schedule G.                                         Check if this is community property (see
                                                                     instructions)




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           Make:      Volkswagon
                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.
  3.3
           Model: Atlas
                   ____________________________
                                                                               Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                            2019                               Debtor 2 only
           Year:                            ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
           Approximate mileage: 5000                                                                                                                    entire property?                 portion you own?
                                ____________                                   At least one of the debtors and another
           Other information:
                                                                                                                                                         25,000.00                        0.00
           Lease. See Schedule G.                                              Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      2,000.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Couch, Loveseat, 4 end tables, 1 coffee table, 1 lamp 4 Bedrooms (1 king bed, 1 bunk bed, 1 toddler
    No                      bed, 1 queen bed, three dressers, 2 chests of drawers, 2 armoires), Desk w/chair, Kitchen Contents
   
   ✔ Yes. Describe. ........
                             (utensils, plates, bowls, glassware) (do not own kitchen appliances), Dining Room Table and buffet,
                             Kitchen Table
                                                                                                                                                                                                      5,600.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    No                       Television Samsung 42 Estimate Value $300, Television LG 46 Estimate Value $300, Television 40
                              Estimate Value $200, Cell Phone IPhone 7 Plus Estimate value $240, Cell Phone IPhone 10
   ✔ Yes. Describe. ........
                              Estimate Value $400 (NOT PAID OFF YET, OWE $733), Cell Phone Moto Z Estimate Value $25,
                                                                                                                                                                                                      2,265.00
                                                                                                                                                                                                    $___________________
                              Laptop Lenovo Yoga Estimate Value $500,Nintendo Switch Estimate Value $150, Laptop HP
8. Collectibles of value      Estimate Value $150
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No                       Framed Photograph Unknown Photographer Estimate Value $150, Framed Painting Unknown Artist
   
   ✔ Yes. Describe. ......... (painted by family member) Estimate Value $25, Various children and adult books - Estimate Value                                                                        250.00
                                                                                                                                                                                                    $___________________
                              $75

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
    No                       Childs Bicycle Estimate Value $40
    Yes. Describe. ......... Adults
   ✔
                                     Bicycle Estimate Value $75
                              Treadmill Estimate Value $300
                                                                                                                                                                                                      415.00
                                                                                                                                                                                                    $___________________
                              Skis Estimate Value $0 (Apprxt. 20 years old)
10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                       Childrens clothing Estimate Value $100
   ✔ Yes. Describe. ......... Adults Clothing Estimate Value $200
                                                                                                                                                                                                     450.00
                              Childrens Shoes Estimate Value $50                                                                                                                                    $___________________
                              Adults Shoes Estimate Value $100

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
      No                       Engagement Ring Estimate Value $2000
   
   ✔   Yes. Describe. ......... Various Necklaces (costume) Estimate Value $200                                                                                                                       2,575.00
                                                                                                                                                                                                    $___________________
                                Various Earrings (costume) Estimate Value $50
13. Non-farm animals            Women?s Wedding Ring Estimate Value $300
   Examples: Dogs, cats, birds, horses

       No
                                 Golden Retriever (spayed, age 5) Estimate Value $0
   
   ✔    Yes. Describe. ......... Welsh Springer Spaniel (spayed, age 8) Estimate Value $0                                                                                                             25.00
                                                                                                                                                                                                    $___________________
                                 Cats x 3 (neutered, ages 6, 2, 2) Estimate value $0
14. Any other personal and household items you did not already list, including any health aids you did not list
                                         Snow Plow
       No
   
   ✔    Yes. Give specific                                                                                                                                                                            2,750.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        14,330.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
   
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      13.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 SunTrust Bank                                                                        0.00
                                                 ___________________________________________________________________________________ $__________________
                                                 Capital One                                                                          0.38
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                 Eastman Credit Union                                                                 5.00
   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        South Carolina Federal Credit Union
                                                 ___________________________________________________________________________________  5.00
                                                                                                                                     $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                  South Carolina Federal Credit Union                                                                                                                                                1,170.99
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                  Webster Bank                                                                                                                                                                       45.30
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                  Eastman Credit Union                                                                                                                                                               125.34
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
    No
   
   ✔ Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                     Unknown
   Barking Mad LLC
  _____________________________________________________________________________________________________                                                                                       100
                                                                                                                                                                                              ___________%
   Jemaco LLC (d/b/a Toll Gate Animal Clinic)                                                                                                                                                 100                   $__________________
                                                                                                                                                                                                                     Unknown
  _____________________________________________________________________________________________________                                                                                       ___________%
   Tailwaggers at Toll Gate LLC
  _____________________________________________________________________________________________________                                                                                       100
                                                                                                                                                                                              ___________%          $__________________
                                                                                                                                                                                                                     Unknown

                                                                                                                                                                                                                                         10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           Whole Foods Market Retirement Savings Fidelity Brokerage Services
                                   _________________________________________________________________________________________________
                                                                                                                                           1,001.65
                                                                                                                                       $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

        No
    
    ✔    Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               Jeffrey Driesen
                           ____________________________________________________________________________________________________        $___________________
                                                                                                                                         1,950.00
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
                                veterinarian licenses and DEA licenses in SC and CT
    No
   
   ✔   Yes. Give specific
       information about them. ..                                                                                                                        Unknown
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:                0.00
                                                                                                                                                     $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                  0.00
                                                                                                                                                     $_________________
            and the tax years. ......................                                                                                                 0.00
                                                                                                                              Local:                 $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔   Yes. Name the insurance company             Company name:                                                                                 Beneficiary:                                        Surrender or refund value:
            of each policy and list its value. ...
      Ohio National Life Insurance Co
      ____________________________________________________________________________                                                             ____________________________                            0.00
                                                                                                                                                                                                     $__________________
      AVMA PLIT
      ____________________________________________________________________________                                                             ____________________________                            0.00
                                                                                                                                                                                                     $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       4,316.66
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
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48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                350,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    2,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               14,330.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           4,316.66
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             20,646.66
                                                                                                                     $________________ Copy personal property total                                              20,646.66
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       370,646.66
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
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  Sell / Find Your Car's Value / Results


Vehicle Valuation
RAM 1500 Big Horn 4x4 Crew Cab 5'7" Box
Zip Code: 29414 | Mileage: 27,000

$21,055 - $28,275*




        Sell Your Car &                                                  Get Online Offers
       Maximize Its Value                                                From Dealers Fast

      Expect: $24,125 - $28,275*                                      Expect: $21,055 - $27,290*


             Create a Cars.com
                                                                             Sell My Car to a Dealer
             Classified Listing




        Reach 13 Million Shoppers                                       Compare Up to 4 Offers Online
          Basic Package is Free                                           No Cost or Commitment
     Average Time To Sell 3 to 8 Weeks                                   Offers In as Fast as an Hour




             * Price ranges are based on Black Book's average to rough car
               conditions and market data. The amount you can expect is
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  Sell / Find Your Car's Value / Results


Vehicle Valuation
Volkswagen Atlas 3.6L V6 SE FWD
Zip Code: 29414 | Mileage: 5,000

$22,250 - $28,525*




        Sell Your Car &                                                  Get Online Offers
       Maximize Its Value                                                From Dealers Fast

      Expect: $25,250 - $28,525*                                      Expect: $22,250 - $27,380*


             Create a Cars.com
                                                                             Sell My Car to a Dealer
             Classified Listing




        Reach 13 Million Shoppers                                       Compare Up to 4 Offers Online
          Basic Package is Free                                           No Cost or Commitment
     Average Time To Sell 3 to 8 Weeks                                   Offers In as Fast as an Hour




             * Price ranges are based on Black Book's average to rough car
               conditions and market data. The amount you can expect is
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  Sell / Find Your Car's Value / Results


Vehicle Valuation
Ford F-150 Reg Cab 126" XLT 4WD
Zip Code: 06759 | Mileage: 176,000

$1,860 - $5,175*




        Sell Your Car &                                                  Get Online Offers
       Maximize Its Value                                                From Dealers Fast

       Expect: $3,775 - $5,175*                                          Expect: $1,860 - $3,115*


             Create a Cars.com
                                                                             Sell My Car to a Dealer
             Classified Listing




        Reach 13 Million Shoppers                                       Compare Up to 4 Offers Online
          Basic Package is Free                                           No Cost or Commitment
     Average Time To Sell 3 to 8 Weeks                                   Offers In as Fast as an Hour




             * Price ranges are based on Black Book's average to rough car
               conditions and market data. The amount you can expect is
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  OFF MARKET                                                                                   

110 Brynmoor Ct
Goshen, CT 06756
4 bds · 3 ba · 2,804 sqft
                                                                            View this home 



Your home value

Zestimate                                                                           $399,504



Thinking of selling? Start here
Get a professional valuation
Connect with a local agent to see what your home could sell for.


Get selling tips
Check out our Sellers Guide for timelines, tips and advice on selling your home.


List for sale by owner
Post a listing for free, including video and unlimited photos.
               Case 19-05688-dd                   Doc 1           Filed 10/29/19 Entered 10/29/19 17:15:34                                       Desc Main
                                                                  Document     Page 24 of 63
 Fill in this information to identify your case:

                     Jennifer Lee Stepp
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name                  Last Name

 Debtor 2            Matthew Ormiston Coons
                     ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of South Carolina District of __________
                                                                                          (State)
 Case number
  (If known)
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                            amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                      11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on             Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                     portion you own                           exemption you claim

                                                                 Copy the value from                       Check only one box
                                                                 Schedule A/B                              for each exemption
                 Household goods - Couch, Loveseat, 4 end tables, 1                                                                       Conn. Gen. Stat. Ann. § 52-352b (a)
 Brief        coffee table, 1 lamp 4 Bedrooms (1 king bed, 1 bunk 5,600.00
 description: bed, 1 toddler bed, 1 queen bed, three dressers, 2 $________________                     5,600.00
                                                                                                    ✔ $ ____________
                 chests of drawers, 2 armoires), Desk w/chair,                                        100% of fair market value, up to
                 Kitchen Contents (utensils, plates, bowls,                                              any applicable statutory limit
 Line from glassware) (do not own kitchen appliances), Dining
 Schedule A/B: 6
                 Electronics - Television Samsung 42 Estimate Value                                                                       Conn. Gen. Stat. Ann. § 52-352b (a)
 Brief        $300, Television LG 46 Estimate Value $300,
 description: Television 40 Estimate Value $200, Cell Phone
                                                                          2,265.00
                                                                        $________________            $ ____________
                                                                                                     ✔  2,265.00
                 IPhone 7 Plus Estimate value $240, Cell Phone                                        100% of fair market value, up to
 Line from IPhone 10 Estimate Value $400 (NOT PAID OFF                                                   any applicable statutory limit
 Schedule A/B:  7
                 Collectibles of value - Framed Photograph Unknown                                                                        Conn. Gen. Stat. Ann. § 52-352b (a)
 Brief        Photographer Estimate Value $150, Framed             250.00
 description: Painting Unknown Artist (painted by family member) $________________                     250.00
                                                                                                    ✔ $ ____________

                 Estimate Value $25, Various children and adult                                       100% of fair market value, up to
 Line from books - Estimate Value $75                                                                    any applicable statutory limit
 Schedule A/B:   8

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                  page 1 of __
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Debtor           Jennifer Lee Stepp                  Document
                _______________________________________________________
                                                                        Page 25 of Case
                                                                                    63 number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 Pa rt 2 :      Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                       Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
                Sports and hobby equipment - Childs Bicycle Estimate                                                               Conn. Gen. Stat. Ann. § 52-352b (a)
Brief        Value $40
description: Adults Bicycle Estimate Value $75
                                                                        415.00
                                                                       $________________         415.00
                                                                                              ✔ $ ____________
                Treadmill Estimate Value $300                                                  100% of fair market value, up to
Line from Skis Estimate Value $0 (Apprxt. 20 years old)                                          any applicable statutory limit
Schedule A/B:   9
                Clothing - Childrens clothing Estimate Value $100                                                                  Conn. Gen. Stat. Ann. § 52-352b (a)
Brief        Adults Clothing Estimate Value $200
description: Childrens Shoes Estimate Value $50                        $________________
                                                                        450.00                
                                                                                              ✔ $ ____________
                                                                                                  450.00
                Adults Shoes Estimate Value $100                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:       11
             Jewelry - Engagement Ring Estimate Value $2000                                                                        Conn. Gen. Stat. Ann. § 52-352b (k)
Brief        Various Necklaces (costume) Estimate Value $200
description: Various Earrings (costume) Estimate Value $50             $________________
                                                                        2,575.00              
                                                                                              ✔ $ ____________
                                                                                                  2,575.00
             Women?s Wedding Ring Estimate Value $300                                          100% of fair market value, up to
Line from Men?s Wedding Ring Estimate Value $25                                                  any applicable statutory limit
Schedule A/B:        12
             Pets - Golden Retriever (spayed, age 5) Estimate Value                                                                Conn. Gen. Stat. Ann. § 52-352b (a)
Brief        $0
description: Welsh Springer Spaniel (spayed, age 8) Estimate Value
                                                                        25.00
                                                                       $________________         25.00
                                                                                              ✔ $ ____________

             $0                                                                                100% of fair market value, up to
Line from Cats x 3 (neutered, ages 6, 2, 2) Estimate value $0                                    any applicable statutory limit
Schedule A/B:        13
             Capital One (Checking)                                                                                                Conn. Gen. Stat. Ann. § 52-352b (r)
Brief
description:
                                                                        0.38
                                                                       $________________         0.38
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          17.2
                South Carolina Federal Credit Union (Checking)                                                                     Conn. Gen. Stat. Ann. § 52-352b (r)
Brief
description:
                                                                        1,170.99
                                                                       $________________         1,170.99
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.6
                Webster Bank (Other)                                                                                               Conn. Gen. Stat. Ann. § 52-352b (r)
Brief
description:
                                                                        45.30
                                                                       $________________         45.30
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:            17.7

Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:


 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   2
                                                                                                                                                    page ___ of __2
                 Case 19-05688-dd                     Doc 1         Filed 10/29/19 Entered 10/29/19 17:15:34                                     Desc Main
                                                                    Document     Page 26 of 63
 Fill in this information to identify your case:

                     Jennifer Lee Stepp
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                  Last Name

 Debtor 2            Matthew Ormiston Coons
                     ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of South Carolina District of __________
                                                                                          (State)
 Case number         ___________________________________________
 (If known)                                                                                                                                            Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                          Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                        Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                     that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                  claim                 If any

2.1 DECO Associates                                       Describe the property that secures the claim:                    250,000.00
                                                                                                                          $_________________   2,500.00
                                                                                                                                             $________________  247,500.00
                                                                                                                                                               $____________
     ______________________________________               Lien on one of Debtor's LLC assets - $2,500.00
     Creditor’s Name
                                                          Business debt secured by Jemaco LLC DBA Toll Gate Animal Clinic
     Donald Coons
     ______________________________________               personally guaranteed by Jennifer Coons aka Jennifer Stepp and is an
     Number            Street                             asset held by Jemaco LLC owned by Jennifer Coons aka Jennifer Stepp
     17 Bookside Lane
     ______________________________________               As of the date you file, the claim is: Check all that apply.
      Sherman               CT 06784
     ______________________________________
                                                              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                              Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
  Date debt was incurred ____________                     Last 4 digits of account number
2.2 Ditech Financial Llc                                  Describe the property that secures the claim:                    351,727.00
                                                                                                                          $_________________                   1,727.00
                                                                                                                                               350,000.00 $____________
                                                                                                                                             $________________
     ______________________________________               110 Brynmoor Ct, Goshen, CT 06756 - $350,000.00
     Creditor’s Name
      332 Minnesota St Ste 610
     ______________________________________
     Number            Street

     ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
      Saint Paul                   MN
     ______________________________________
                                           55101              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
      Debtor 1 only                                      Nature of lien. Check all that apply.
  
  ✔    Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                         Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
                            2016
  Date debt was incurred ____________                     Last 4 digits of account number           5411
     Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                            601,727.00

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of ___
                                                                                                                                                                       3
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 Debtor 1        Jennifer Lee Stepp
                  _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




               Addit iona l Pa ge                                                                                        Column A               Column B              Column C
Pa rt 1 :                                                                                                                Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                         Do not deduct the
               by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any
2.3    Sheffield Financial Co                            Describe the property that secures the claim:               2,462.00
                                                                                                                  $__________________    2,750.00
                                                                                                                                      $_________________   0.00
                                                                                                                                                         $________________

      ______________________________________            Other - Snow Plow - $2,750.00
      Creditor’s Name                                   Snow plow located in CT.
       2554 Lewisville Clemmons
      ______________________________________
      Number            Street

      ______________________________________
                                                         As of the date you file, the claim is: Check all that apply.
       Clemmons              NC 27012
      ______________________________________                Contingent
      City                        State     ZIP Code
                                                            Unliquidated
  Who owes the debt? Check one.                             Disputed
  
  ✔      Debtor 1 only
                                                         Nature of lien. Check all that apply.
        Debtor 2 only
        Debtor 1 and Debtor 2 only
                                                         
                                                         ✔   An agreement you made (such as mortgage or secured
                                                             car loan)
        At least one of the debtors and another
                                                            Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                    Judgment lien from a lawsuit
        community debt                                      Other (including a right to offset) ____________________

                          2018
  Date debt was incurred ____________                    Last 4 digits of account number         1007

2.4    Westlake Financial Svc
                                                         Describe the property that secures the claim:           4,543.00
                                                                                                               $__________________    2,000.00
                                                                                                                                   $_________________    2,543.00
                                                                                                                                                      $_________________
      _____________________________________              Ford F150 - $2,000.00
      Creditor’s Name
       4751 Wilshire Blvd Ste 1
      ______________________________________
      Number            Street

      ______________________________________             As of the date you file, the claim is: Check all that apply.
      Los Angeles            CA 90010
      ______________________________________                 Contingent
      City                         State    ZIP Code         Unliquidated
  Who owes the debt? Check one.
                                                             Disputed
       Debtor 1 only
                                                         Nature of lien. Check all that apply.
  
  ✔     Debtor 2 only
       Debtor 1 and Debtor 2 only                        An agreement you made (such as mortgage or secured
                                                         car loan)
       At least one of the debtors and another
                                                          Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                     Judgment lien from a lawsuit
        community debt
                                                             Other (including a right to offset) ____________________
                          2017
  Date debt was incurred ____________                    Last 4 digits of account number         3449
2.5    Woodridge Lake POA
                                                         Describe the property that secures the claim:                   3,500.00 $_________________
                                                                                                                 $__________________  350,000.00 $________________
                                                                                                                                                              0.00
      _____________________________________
      Creditor’s Name                                   110 Brynmoor Ct, Goshen, CT 06756 - $350,000.00
       C/O Ronald Barba Esq.
      _____________________________________
      Number            Street
       250 State St, #D-2
      _____________________________________
       North Haven           CT 06473
      ______________________________________             As of the date you file, the claim is: Check all that apply.
      City                         State    ZIP Code
                                                            Contingent

  Who owes the debt? Check one.
                                                            Unliquidated
                                                            Disputed
        Debtor 1 only
        Debtor 2 only
                                                         Nature of lien. Check all that apply.
  
  ✔      Debtor 1 and Debtor 2 only                       An agreement you made (such as mortgage or secured
        At least one of the debtors and another           car loan)
                                                         
                                                         ✔ Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a                    Judgment lien from a lawsuit
        community debt                                      Other (including a right to offset) ____________________
  Date debt was incurred ____________                    Last 4 digits of account number

             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      10,505.00
             If this is the last page of your form, add the dollar value totals from all pages.                            612,232.00
             Write that number here:                                                                                     $_________________

   Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                   2 of ___
                                                                                                                                                                        3
              Case 19-05688-dd                 Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34                           Desc Main
                                                              Document     Page 28 of 63
Debtor 1
              Jennifer Lee Stepp
               _______________________________________________________                          Case number (if known)_____________________________________
               First Name      Middle Name        Last Name


  Pa rt 2 :       List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

       Ditech Financial Llc                                                                                                                    2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       PO Box 7153
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Pasadena                                                     91109
      _____________________________________________________________________
      City                                    State         ZIP Code


       MCCALLA RAYMER LEIBERT PIERCE LLC
                                                                                                                                                2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       50 WESTON STREET
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Hartford                                      CT             06120
      _____________________________________________________________________
      City                                    State         ZIP Code


       Sheffield Financial Co                                                                                                                   2.3
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       P.O. Box 580229
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Charlotte                                      NC            28258
      _____________________________________________________________________
      City                                    State         ZIP Code


       Westlake Financial
                                                                                                                                               2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       PO Box 76809
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Los Angeles                                    CA            90054-0809
      _____________________________________________________________________
      City                                    State         ZIP Code


       Woodridge Lake POA                                                                                                                       2.5
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       260 E. Hyerdale Drive
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Goshen                                         CT            06756
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page ___
                                                                                                                                                   3 of ___
                                                                                                                                                        3
                     Case 19-05688-dd                        Doc 1    Filed 10/29/19 Entered 10/29/19 17:15:34                                        Desc Main
  Fill in this information to identify your case:                     Document     Page 29 of 63
                           Jennifer Lee Stepp
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            Matthew Ormiston Coons
                          ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of South Carolina District of __________
                                                                                             (State)
      Case number         ___________________________________________
                                                                                                                                                          Check if this is an
      (If known)                                                                                                                                             amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                          12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim     Priority     Nonpriority
                                                                                                                                                        amount       amount
            IRS
2.1                                                                                                                                  0.00           0.00        0.00
                                                                        Last 4 digits of account number                            $_____________ $___________ $____________
           ____________________________________________
           Priority Creditor’s Name
            Centralized & Insolvency Operation                          When was the debt incurred?          2016
                                                                                                             ____________
           ____________________________________________
           Number            Street
           PO Box 7346
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Philadelphia             PA      19144
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
           
           ✔      Debtor 1 and Debtor 2 only                            
                                                                        ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             State of CT Dept of Revenue Services
2.2
                                                                        Last 4 digits of account number                                 201.00
                                                                                                                                       $_____________  0.00
                                                                                                                                                      $___________  201.00
                                                                                                                                                                   $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
             P.O. Box 5089
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
             Hartford                CT     06102-5089
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
           
           ✔       Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                           
                                                                        ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes

 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of ___
                                                                                                                                                                         35
                  Case   19-05688-dd
                   Jennifer Lee Stepp                  Doc 1         Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
Debtor 1           _______________________________________________________
                   First Name     Middle Name            Last Name   Document     Page 30 of Case
                                                                                              63 number (if known)_____________________________________
Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                               Total claim   Priority     Nonpriority
                                                                                                                                                   amount       amount

2.3   Town of Litchfield
                                                                                                                                       727.00        0.00        727.00
                                                                      Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                        When was the debt incurred?          ____________
      PO Box 465
      ____________________________________________
      Number             Street                                       As of the date you file, the claim is: Check all that apply.
      ____________________________________________                       Contingent
      Thomaston                CT     06787                              Unliquidated
      ____________________________________________
      City                                State    ZIP Code              Disputed
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations
      
      ✔      Debtor 1 only                                            
                                                                      ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                               Claims for death or personal injury while you were
                                                                          intoxicated
            Debtor 1 and Debtor 2 only
                                                                         Other. Specify
            At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes
2.4    Town of Litchfield
                                                                                                                                      885.76         0.00        885.76
                                                                      Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________                    When was the debt incurred?          ____________
      Priority Creditor’s Name
       P.O. Box 356
      ____________________________________________                    As of the date you file, the claim is: Check all that apply.
      Number             Street

      ____________________________________________                       Contingent
                                                                         Unliquidated
       Litchfield                         CT
      ____________________________________________
                                                  06759                  Disputed
      City                                State    ZIP Code
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations
      
      ✔      Debtor 1 only                                            
                                                                      ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                               Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                   intoxicated
            At least one of the debtors and another                     Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes
2.5   Town of Litchfield Tax Collector
                                                                                                                                       20,822.04 $__________
                                                                                                                                                   0.00        20,822.04
                                                                      Last 4 digits of account number                                $____________           $____________

      ____________________________________________
      Priority Creditor’s Name                                        When was the debt incurred?          ____________
      PO Box 356
      ____________________________________________
      Number            Street                                        As of the date you file, the claim is: Check all that apply.
      ____________________________________________                       Contingent

      Litchfield               CT     06759                              Unliquidated
      ____________________________________________
      City                                State   ZIP Code               Disputed
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations

      
      ✔ Debtor 1 only                                                 
                                                                      ✔   Taxes and certain other debts you owe the government

       Debtor 2 only                                                    Claims for death or personal injury while you were
                                                                          intoxicated
       Debtor 1 and Debtor 2 only                                       Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                    2 of ___
                                                                                                                                                                          35
                  Case   19-05688-dd
                   Jennifer Lee Stepp                  Doc 1         Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
Debtor 1           _______________________________________________________
                   First Name     Middle Name            Last Name   Document     Page 31 of Case
                                                                                              63 number (if known)_____________________________________
Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                               Total claim   Priority     Nonpriority
                                                                                                                                                   amount       amount

2.6   Town of Litchfield Tax Collector
                                                                                                                                       618.00        0.00        618.00
                                                                      Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                        When was the debt incurred?          ____________
      P.O. Box 356
      ____________________________________________
      Number             Street                                       As of the date you file, the claim is: Check all that apply.
      ____________________________________________                       Contingent
      Litchfield               CT     06759                              Unliquidated
      ____________________________________________
      City                                State    ZIP Code              Disputed
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations
      
      ✔      Debtor 1 only                                            
                                                                      ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                               Claims for death or personal injury while you were
                                                                          intoxicated
            Debtor 1 and Debtor 2 only
                                                                         Other. Specify
            At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes


                                                                      Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________                    When was the debt incurred?          ____________
      Priority Creditor’s Name

      ____________________________________________                    As of the date you file, the claim is: Check all that apply.
      Number             Street

      ____________________________________________                       Contingent
                                                                         Unliquidated
      ____________________________________________                       Disputed
      City                                State    ZIP Code
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations
            Debtor 1 only                                               Taxes and certain other debts you owe the government
            Debtor 2 only                                               Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                   intoxicated
            At least one of the debtors and another                     Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
            No
            Yes


                                                                      Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                        When was the debt incurred?          ____________
      ____________________________________________
      Number            Street                                        As of the date you file, the claim is: Check all that apply.
      ____________________________________________                       Contingent
                                                                         Unliquidated
      ____________________________________________
      City                                State   ZIP Code               Disputed
                                                                      Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                  Domestic support obligations

       Debtor 1 only                                                    Taxes and certain other debts you owe the government

       Debtor 2 only                                                    Claims for death or personal injury while you were
                                                                          intoxicated
       Debtor 1 and Debtor 2 only                                       Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
            No
            Yes


  Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                    3 of ___
                                                                                                                                                                          35
                     Case   19-05688-dd
                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 32 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          Aargon Collection Agency                                                                                                                                 Total claim
4.1
                                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                             213.00
                                                                                                                                                                 $__________________
         Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           2018
                                                                                                                               ____________
          8668 Spring Mountain Road
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Las Vegas                           NV       89117
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
                                                                                            Unliquidated
         Who incurred the debt? Check one.                                                  Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt

         
         ✔      No
               Yes
4.2
         Accounting and More/Gwen Burgess                                                Last 4 digits of account number                                          8,000.00
                                                                                                                                                                 $__________________
         _____________________________________________________________                   When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         P.O. Box 550
         _____________________________________________________________
         Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          Litchfield                                      CT
                                                      06759
                                                                                            Contingent
         _____________________________________________________________                      Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                  Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          ADT Security Services
4.3
                                                                                         Last 4 digits of account number       5044
         _____________________________________________________________                                                                                            127.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 650485
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Dallas                              TX       75265
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

         
         ✔      Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                 
                                                                                         ✔   Other. Specify Credit Card Debt

         
         ✔ No

               Yes


      Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        page __
                                                                                                                                                                             4 of ___
                                                                                                                                                                                  35
                    Case   19-05688-dd
                     Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1            _______________________________________________________
                     First Name       Middle Name           Last Name   Document     Page 33 of Case
                                                                                                 63 number (if known)_____________________________________
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.4     Alliance One Re: Target Credit Card
       _____________________________________________________________                    Last 4 digits of account number       0405
       Nonpriority Creditor’s Name                                                                                                                                500.00
                                                                                                                                                                $__________________
        Target Card Services                                                            When was the debt incurred?           2018
                                                                                                                              ____________
       _____________________________________________________________
       Number             Street
        PO Box 660170
       _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
        Dallas                                           TX
       _____________________________________________________________
                                                                        75266
       City                                              State          ZIP Code           Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.
                                                                                           Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                           Student loans
              Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                      that you did not report as priority claims

              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Ally Financial                                                                  Last 4 digits of account number       8012                               4,265.00
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
                                                                                                                              2017
       Nonpriority Creditor’s Name
        200 Renaissance Ctr # B0
       _____________________________________________________________
       Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Detroit                             MI       48243                                  Contingent
       _____________________________________________________________
       City                                              State          ZIP Code           Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
              Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
       
       ✔       Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                           Student loans

              At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     American Express Blue                                                           Last 4 digits of account number       2007
        _____________________________________________________________                                                                                            741.00
                                                                                                                                                                $_________________
        Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
        P.O. Box 981535
        _____________________________________________________________
        Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        El Paso                             TX       79998
        _____________________________________________________________                      Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                  Unliquidated

       
       ✔       Debtor 1 only
                                                                                           Disputed

              Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                  Student loans
              At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes


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 Debtor 1            _______________________________________________________
                     First Name       Middle Name           Last Name   Document     Page 34 of Case
                                                                                                 63 number (if known)_____________________________________
 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.7     American Express Business Card Delta Skymiles
       _____________________________________________________________                    Last 4 digits of account number       1000
       Nonpriority Creditor’s Name                                                                                                                                2,798.00
                                                                                                                                                                $__________________
        200 Vesey Street                                                                When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.
        New York                                         NY
       _____________________________________________________________
                                                                        10285-3106
       City                                              State          ZIP Code           Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.
                                                                                           Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                           Student loans
              Debtor 1 and Debtor 2 only
                                                                                           Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                      that you did not report as priority claims

              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     American Express Business Gold Card                                             Last 4 digits of account number       1007                               12,770.00
                                                                                                                                                                $__________________
       _____________________________________________________________                    When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        200 Vesey Street
       _____________________________________________________________
       Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       New York                            NY       10285-3106                             Contingent
       _____________________________________________________________
       City                                              State           ZIP Code          Unliquidated
       Who incurred the debt? Check one.                                                   Disputed
       
       ✔       Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                           Student loans

              At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                        
                                                                                        ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     American Express Delta Reserve                                                  Last 4 digits of account number       1003
        _____________________________________________________________                                                                                            2,919.00
                                                                                                                                                                $_________________
        Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
        P.O. Box 981535
        _____________________________________________________________
        Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        El Paso                             TX       79998
        _____________________________________________________________                      Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                  Unliquidated

       
       ✔       Debtor 1 only
                                                                                           Disputed

              Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                  Student loans
              At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
              Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  
                                                                                        ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 35 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.10 American Express Delta Reserve Card                                                                                       1008
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                3,161.00
                                                                                                                                                                 $__________________
         P.O. Box 650448                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Dallas                                           TX
        _____________________________________________________________
                                                                         75265
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Barclays Bank Delaware                                                              Last 4 digits of account number       2976                               3,000.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 8801
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19801                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     BARR Credit Services (collection firm for Zoetis account listed below)Last 4 digits of account number
         _____________________________________________________________                                                                                            3,147.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         Zoetis US
         _____________________________________________________________
         Number             Street
         812 Springdale Dr                                                               As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Exton                               PA       19341
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 36 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.13 Bayer Healthcare LLC                                                                                                      7300
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,503.28
                                                                                                                                                                 $__________________
         PO Box 223075                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Pittsburgh                                       PA
        _____________________________________________________________
                                                                         15251-2075
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.14 Best Buy Credit Card Citi Retail Services                                           Last 4 digits of account number       8805                               812.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 790441
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        St Louis                            MO       63179-0441                             Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.15     Boehringer Ingelheim/Merial                                                     Last 4 digits of account number       1395
         _____________________________________________________________                                                                                            6,022.79
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 281348
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30384
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 37 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.16 Capital One                                                                                                               0589
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                4,998.00
                                                                                                                                                                 $__________________
         P.O. Box 71083                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Charlotte                                        NC
        _____________________________________________________________
                                                                         28272
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.17 Capital One                                                                         Last 4 digits of account number       7525                               702.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 71083
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Charlotte                           NC       28272                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.18     Capital One                                                                     Last 4 digits of account number       2553
         _____________________________________________________________                                                                                            2,645.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 71083
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Charlotte                           NC       28272
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 38 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.19 Capital One Spark Business Card                                                                                           6504
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                430.00
                                                                                                                                                                 $__________________
         P.O. Box 71083                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Carlotte                                         NC
        _____________________________________________________________
                                                                         28272-1083
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.20 Charles Towne Animal Hospital                                                       Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         850 Savannah Hwy
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Charleston                          SC       29407                                  Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.21     CitiBank                                                                        Last 4 digits of account number       5275
         _____________________________________________________________                                                                                            2,784.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 9001037
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Louisville                          KY       40290
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 39 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.22 Citi Cards                                                                                                                6176
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,779.00
                                                                                                                                                                 $__________________
         P.O. Box 70166                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Philadelphia                                     PA
        _____________________________________________________________
                                                                         19176
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.23 Clover TeleCheck Services Inc.                                                      Last 4 digits of account number       7693                               271.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 60028
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        City of Industry                    CA       91716                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.24     Contract Callers (re: Amerigas)                                                 Last 4 digits of account number       5444
         _____________________________________________________________                                                                                            1,885.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         PO Box 660288
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dallas                              TX       75266
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 40 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.25 Credit Collections Bureau Professional Debt Collectors                                                                    7217
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                80.00
                                                                                                                                                                 $__________________
         PO Box 90508                                                                    When was the debt incurred?           2018
                                                                                                                               ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Sioux Falls                                      SD
        _____________________________________________________________
                                                                         57109
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.26 Damien Oskwarek                                                                     Last 4 digits of account number                                          250,000.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 176
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Litchfield                          CT       06759                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.27     De Lage Landen Financial Services INC                                           Last 4 digits of account number       8206
         _____________________________________________________________                                                                                            0.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 41602
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Philadelphia                        PA       19101
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 41 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.28 Diamondback Drugs, A Wedgewood Village Pharmacy LLC                                                                       8745
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                74.00
                                                                                                                                                                 $__________________
         7631 East Indian School Road                                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Scottsdale                                       AZ
        _____________________________________________________________
                                                                         85251
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.29 Discover                                                                            Last 4 digits of account number       1503                               7,598.24
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 71084
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Charlotte                           NC       28272                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.30     Discover                                                                        Last 4 digits of account number       3454
         _____________________________________________________________                                                                                            8,069.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 71084
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Charlotte                           NC       28272
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 42 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.31 Drug Enforcement Administration
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                                 $__________________
         8701 Morrissette Dr                                                             When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Springfield                                      VA
        _____________________________________________________________
                                                                         22152
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.32 Eastman Credit Union Visa                                                           Last 4 digits of account number       6718                               2,621.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 1989
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Kingsport                           TN       37662                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.33     Eversource                                                                      Last 4 digits of account number       5004
         _____________________________________________________________                                                                                            300.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           2007
                                                                                                                               ____________
         PO Box 56002
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Boston                              MA       02205
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                                                                                    if known
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       ✔




4.34 Eversource                                                                           7035
                                                                                                       832.00
       P.O. Box 56002




       Boston                               MA       02205-6002



           ✔




                                                                        ✔   Credit Card Debt

           ✔



4.35 Fed Loan Serv                                                                        7            17,892.00
                                                                                          2011
           Po Box 60610



           Harrisburg                       PA       17106


       ✔

                                                                        ✔




       ✔



4.36       Fed Loan Serv                                                                  1
                                                                                                       43,572.00
                                                                                          2012
           Po Box 60610



           Harrisburg                       PA       17106


       ✔


                                                                        ✔




       ✔




                                                                                                                15   35
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                                                                                    if known
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       ✔




4.37 Fed Loan Serv                                                                    5
                                                                                                       3,429.00
       Po Box 60610                                                                   2010



       Harrisburg                           PA       17106



           ✔

                                                                        ✔




           ✔



4.38 Fed Loan Serv                                                                    6                2,510.00
                                                                                      2011
           Po Box 60610



           Harrisburg                       PA       17106


       ✔

                                                                        ✔




       ✔



4.39       Fed Loan Serv                                                              8
                                                                                                       8,747.00
                                                                                      2011
           Po Box 60610



           Harrisburg                       PA       17106


       ✔


                                                                        ✔




       ✔




                                                                                                                  16   35
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                                                                                    if known
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       ✔




4.40 Fed Loan Serv                                                                        4
                                                                                                             275,333.00
       Po Box 60610                                                                       2013



       Harrisburg                           PA       17106



           ✔

                                                                        ✔




           ✔



4.41 Ferris Gorra                                                                                            Unknown

           53 Carlson Ridge



                                                                        ✔
           New Milford                      CT       06776


       ✔




                                                                        ✔   Monies Loaned / Advanced

       ✔



4.42       Final Gift Crematorium                                                         *0319
                                                                                                             2,000.00

           2 Daniels Way



           Cranston                         RI       02921


       ✔




                                                                        ✔   Credit Card Debt
       ✔




                                                                                                                        17   35
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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 46 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.43 First Veterinary Supply                                                                                                   DE78
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                591.08
                                                                                                                                                                 $__________________
         17187 North Laurel Park Drive                                                   When was the debt incurred?           2015
                                                                                                                               ____________
        _____________________________________________________________
        Number             Street
         Suite 300
        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Livonia                                          MI
        _____________________________________________________________
                                                                         48152
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.44 Gap Visa/Synchrony Bank                                                             Last 4 digits of account number       1554                               700.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 960017
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.45     Goshen Tax Collector                                                            Last 4 digits of account number       0378
         _____________________________________________________________                                                                                            94.08
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           2018
                                                                                                                               ____________
         42A North Street
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Goshen                              CT       06756
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Motor vehicle tax bill
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 47 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.46 Henry Schein                                                                                                              179080
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                6,200.00
                                                                                                                                                                 $__________________
         400 Metro Place North                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Dublin                                           OH
        _____________________________________________________________
                                                                         43017
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.47 Highland Capital Corporation                                                        Last 4 digits of account number       0710                               Unknown
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         5 Center Avenue
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Little Falls                        NJ       07424                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.48     Hook and Ladder Oil                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                            0.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         74 Mygatt Road
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         New Preston                         CT       06777
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 48 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.49 Idexx                                                                                                                     1999
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                20,000.00
                                                                                                                                                                 $__________________
         P.O. Box 101327                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Atlanta                                          GA
        _____________________________________________________________
                                                                         30392
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.50 Indeed, Inc                                                                         Last 4 digits of account number                                          3,992.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Mail Code 5160
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        PO Box 660367
        _______________________________________________________________________
        Dallas                              TX       75266-0367                             Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.51     Kabbage                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                            44,487.29
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         925B Peachtree Street NE
         _____________________________________________________________
         Number             Street
         Suite 1688                                                                      As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30309
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 49 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.52 Kohls Card                                                                                                                6501
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,077.00
                                                                                                                                                                 $__________________
         PO Box 2983                                                                     When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Milwaukee                                        WI
        _____________________________________________________________
                                                                         53201
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.53 Lawrence Andrea Attorney at Law                                                     Last 4 digits of account number                                          10,813.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         23 South Main Street
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Norwalk                             CT       *06854                                 Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.54     Litchfield Hills Pediatrics                                                     Last 4 digits of account number       7374
         _____________________________________________________________                                                                                            127.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         481 Bantam Road
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Litchfield                          CT       06759
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 50 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.55 Litchfield Property Care                                                                                                  970
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                7,711.44
                                                                                                                                                                 $__________________
         P.O. Box 1751                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Litchfield                                       CT
        _____________________________________________________________
                                                                         06759
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.56 Medical University of South Carolina (Finley Edds)                                  Last 4 digits of account number       9289                               6,946.41
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         1 Poston Rd.
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        Ste 350
        _______________________________________________________________________
        Charleston                          SC       29407                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Medical Services
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.57     Medical University of South Carolina (Jennifer Stepp)                           Last 4 digits of account number       8660
         _____________________________________________________________                                                                                            3,544.68
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         1 Poston Rd.
         _____________________________________________________________
         Number             Street
         Ste 350                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Charleston                          SC       29407
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Medical Services
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 51 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.58 Midwest Business Capital
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,150,000.00
                                                                                                                                                                 $__________________
         c/o Thomas McDermott Jr Esq                                                     When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         21 South St
        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Litchfield                                       CT
        _____________________________________________________________
                                                                         6759
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.59 Midwest Veterinary Supply                                                           Last 4 digits of account number       8923                               340.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         P.O. Box 856500
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Minneapolis                         MN       55485-6500                             Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.60     Mike Kent Carpentry                                                             Last 4 digits of account number
         _____________________________________________________________                                                                                            900.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         259 Brush Hill Road
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Litchfield                          CT       06759
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name             Last Name   Document     Page 52 of Case
                                                                                                    63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.61 MWI Animal Health                                                                                                           2254
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  8,581.00
                                                                                                                                                                   $__________________
         P.O. Box 5717                                                                     When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.
         Boise                                            ID
        _____________________________________________________________
                                                                           83705
        City                                              State            ZIP Code           Contingent
                                                                                              Unliquidated
        Who incurred the debt? Check one.
                                                                                              Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                              Student loans
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                        that you did not report as priority claims

               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.62 Optimum                                                                               Last 4 digits of account number                                          Unknown
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         622 Torrington Road
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Litchfield                          CT       06759                                    Contingent
        _____________________________________________________________
        City                                              State            ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                     Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                              Student loans

               At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.63     Patterson                                                                         Last 4 digits of account number       7356
         _____________________________________________________________                                                                                              60.00
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________
         Patterson Vet Supply Inc
         _____________________________________________________________
         Number             Street
         28905 Network Place                                                               As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Chicago                             IL       60673
         _____________________________________________________________                        Contingent
         City                                             State             ZIP Code
         Who incurred the debt? Check one.                                                    Unliquidated

        
        ✔       Debtor 1 only
                                                                                              Disputed

               Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                    Student loans
               At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                    
                                                                                           ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 53 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.64 Paypal
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                                 $__________________
         PO Box 45950                                                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Omaha                                            NE
        _____________________________________________________________
                                                                         68145-0950
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.65 Paypal/Swift Capital                                                                Last 4 digits of account number       2420                               Unknown
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         3505 Silverside Road Suite 200
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Wilmington                          DE       19810                                  Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
               Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.66                                                                           Last 4 digits of account number
         Paypal/Swift Capital (see above their listed collection firm Capehart Scatchard)                                      0024
         _____________________________________________________________                                                                                            66,168.21
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         3505 Silverside Road
         _____________________________________________________________
         Number             Street
         Suite 200                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Wilmington                          DE       19810
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                     Case   19-05688-dd
                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 54 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.67 Primary Capital
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                52,360.00
                                                                                                                                                                 $__________________
         80 Main Street                                                                  When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         St 550
        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         West Orange                                      NJ
        _____________________________________________________________
                                                                         07052
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.68 ReadyRefresh by Nestle                                                              Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 856192
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Louisville                          KY       40285                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.69     Royal Canin                                                                     Last 4 digits of account number       665
         _____________________________________________________________                                                                                            2,575.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         500 Fountain Lakes Boulevard
         _____________________________________________________________
         Number             Street
         Suite 100                                                                       As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Saint Charles                       MO       63301
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 55 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.70 State of CT. Dept. Of Consumer Protection
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                                 $__________________
         Drug Control Division                                                           When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street
         450 Columbus Blvd
        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Hartford                                         CT
        _____________________________________________________________
                                                                         06106
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.71 Syncb/Amazon                                                                        Last 4 digits of account number       2980                               4,154.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
                                                                                                                               2017
        Nonpriority Creditor’s Name
         Po Box 965015
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Orlando                             FL       32896                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.72     Syncb/Gapdc                                                                     Last 4 digits of account number       2505
         _____________________________________________________________                                                                                            704.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           2018
                                                                                                                               ____________
         Po Box 965005
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Orlando                             FL       32896
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 56 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.73 Target Red Card                                                                                                           405
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                357.00
                                                                                                                                                                 $__________________
         P.O. Box 673                                                                    When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Minneapolis                                      MN
        _____________________________________________________________
                                                                         55440
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.74 Telecom Self Reported                                                               Last 4 digits of account number       6990                               197.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         Po Box 4500
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Allen                               TX       75013                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.75     TIAA Bank                                                                       Last 4 digits of account number       5595
         _____________________________________________________________                                                                                            22,819.44
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         1700 Lincoln Street
         _____________________________________________________________
         Number             Street
         Lower Level 3 ? Dept #1608                                                      As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Denver                              CO       80203
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                              
                                                                                         ✔   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                     Other. Specify
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 57 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.76 Torrington Maintenance Supply
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,500.00
                                                                                                                                                                 $__________________
         462 Main Street Rear                                                            When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Torrington                                       CT
        _____________________________________________________________
                                                                         06790
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.77 Town of Litchfield Water Pollution Control                                          Last 4 digits of account number                                          1,334.00
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         PO Box 343
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Litchfield                          CT       06759                                  Contingent
        _____________________________________________________________
        City                                              State          ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.78     Travelers Insurance                                                             Last 4 digits of account number       197
         _____________________________________________________________                                                                                            1,100.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         PO BOX 660317
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Dallas                              TX       75266-0317
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 58 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.79 United Health Care Oxford                                                                                                 9613
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                1,181.00
                                                                                                                                                                 $__________________
         P.O. Box 1697                                                                   When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Newark                                           NJ
        _____________________________________________________________
                                                                         07101-1697
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.80 USA Hauling and Recycling Inc.                                                      Last 4 digits of account number                                          Unknown
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         185 Torrington Rd
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Winsted                             CT       06098                                  Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
               Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
        
        ✔       Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.81     VCA Charles Towne Animal Hospital                                               Last 4 digits of account number
         _____________________________________________________________                                                                                            10,000.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         850 Savannah Highway
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Charleston                          SC       29407
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                         
                                                                                         ✔   Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1            Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name             Last Name   Document     Page 59 of Case
                                                                                                    63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.82 Vw Credit Inc                                                                                                               7800
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  20,612.00
                                                                                                                                                                   $__________________
         1401 Franklin Blvd                                                                When was the debt incurred?           2019
                                                                                                                                 ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.
         Libertyville                                     IL
        _____________________________________________________________
                                                                           60048
        City                                              State            ZIP Code           Contingent
                                                                                              Unliquidated
        Who incurred the debt? Check one.
                                                                                              Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                              Student loans
               Debtor 1 and Debtor 2 only
                                                                                              Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                        that you did not report as priority claims

               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.83 WB Mason Company Inc                                                                  Last 4 digits of account number       7111                               1,511.84
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         59 Centre Street
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Brockton                            MA       02301                                    Contingent
        _____________________________________________________________
        City                                              State            ZIP Code           Unliquidated
        Who incurred the debt? Check one.                                                     Disputed
        
        ✔       Debtor 1 only
                                                                                           Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                              Student loans

               At least one of the debtors and another
                                                                                              Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
                                                                                           
                                                                                           ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.84     Webster Bank                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                              Unknown
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?           ____________
         281 Meadow Street
         _____________________________________________________________
         Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Waterbury                           CT       06702
         _____________________________________________________________                        Contingent
         City                                             State             ZIP Code
         Who incurred the debt? Check one.                                                    Unliquidated

        
        ✔       Debtor 1 only
                                                                                              Disputed

               Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                    Student loans
               At least one of the debtors and another                                       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
               Check if this claim is for a community debt                                   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                    
                                                                                           ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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                      Jennifer Lee Stepp                  Doc 1          Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
 Debtor 1             _______________________________________________________
                      First Name       Middle Name           Last Name   Document     Page 60 of Case
                                                                                                  63 number (if known)_____________________________________
 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.85 Webster Bank Credit Card                                                                                                  4505
        _____________________________________________________________                    Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                8,400.00
                                                                                                                                                                 $__________________
         P.O. Box 790408                                                                 When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         St. Oouis                                        MO
        _____________________________________________________________
                                                                         63179-0408
        City                                              State          ZIP Code           Contingent
                                                                                            Unliquidated
        Who incurred the debt? Check one.
                                                                                            Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.86 Woodridge Lake Sewer District                                                       Last 4 digits of account number       0832                               2,105.28
                                                                                                                                                                 $__________________
        _____________________________________________________________                    When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         113 Brush Hill Road
        _____________________________________________________________
        Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        PO Box 258
        _______________________________________________________________________
        Goshen                              CT       *06756                                 Contingent
        _____________________________________________________________
        City                                              State           ZIP Code          Unliquidated
        Who incurred the debt? Check one.                                                   Disputed
        
        ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                            Student loans

               At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.87                                                                         Last 4 digits of account number
         Zoetis US (see above the associated collections firm Barr Credit Services)
         _____________________________________________________________                                                                                            3,147.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         P.O. Box 419022
         _____________________________________________________________
         Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Boston                              MA       02241-9022
         _____________________________________________________________                      Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

        
        ✔       Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                  
                                                                                         ✔   Other. Specify Credit Card Debt
        
        ✔       No
               Yes


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Debtor 1        _______________________________________________________
                First Name    Middle Name           Last Name   Document     Page 61 of Case
                                                                                         63 number (if known)_____________________________________
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Amerigas                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      358 Torrington Road                                                        4.24 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                            Last 4 digits of account number
      Litchfield                            CT   06759
     _____________________________________________________
     City                                   State               ZIP Code

      Capehart Scatchard Re: Swift Financial                                On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 5016                                                                 4.66 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                            Claims

      Mount Laurel                               08054
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      Capehart Scatchard Re: Swift Financial                                On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      8000 Midatlantic Dr., Ste. 300S                                            4.66 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                            Claims

     Mount Laurel                     NJ         08054
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      Commercial Collections of America LLC                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      24301 Southland Dr.                                                         4.65 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 310
     _____________________________________________________
                                                                            Claims

      Hayward                         CA         94545
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      Damien Oskwarek
     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      47 Slick Rook Rd                                                            4.26 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                            Claims

      Murphy                                NC   28906
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      Harvard Drug Group re: First Veterinary Supply
     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1821 Reliable Parkway
     _____________________________________________________
                                                                                  4.43 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                            Claims

      Chicago                         IL         60686
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      Midwest Business Capital
     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      c/o Thomas McDermott Jr Esq                                                 4.58 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street
                                                                                                         
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured
      21 South St                                                           Claims
     _____________________________________________________
      Litchfield                      CT         06759
     _____________________________________________________
     City                                   State               ZIP Code
                                                                            Last 4 digits of account number


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                                                                                                                                                                 35
            Case   19-05688-dd
              Jennifer Lee Stepp             Doc 1              Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
Debtor 1        _______________________________________________________
                First Name    Middle Name           Last Name   Document     Page 62 of Case
                                                                                         63 number (if known)_____________________________________
Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      State of CT SS: Goshen, Joseph Parillo, State Marshall                On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      PO Box 137                                                                 4.86 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                            Last 4 digits of account number
      Watertown                             CT   06795
     _____________________________________________________
     City                                   State               ZIP Code

      USDOJ Hartford Resident Office                                        On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      716 Brook St                                                                4.31 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured
      Suite 110
     _____________________________________________________
                                                                            Claims

      Rocky Hill                      CT         06067
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code

      United Midwest Savings Bank                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     _____________________________________________________
     Name

      6460 Busch Blvd Ste 201                                                    4.58 of (Check one):
                                                                            Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number          Street                                                                              
                                                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                            Claims

     Columbus                         OH         60686
     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                            Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                            Claims

     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                            Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                            Claims

     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                            Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                            Claims

     _____________________________________________________                  Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                  On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                  Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                  Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                            Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               page __
                                                                                                                                                          34 of ___
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            Case  19-05688-dd
             Jennifer Lee Stepp              Doc 1           Filed 10/29/19 Entered 10/29/19 17:15:34 Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document     Page 63 of Case
                                                                                      63 number (if known)_____________________________________
Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                6a. Domestic support obligations                                 6a.                         0.00
Total claims                                                                             $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.                   23,253.80
                                                                                         $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                  6c.                         0.00
                                                                                         $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.
                                                                                       + $_________________________
                                                                                                             0.00


                6e. Total. Add lines 6a through 6d.                              6e.
                                                                                                       23,253.80
                                                                                         $_________________________



                                                                                         Total claim

                6f. Student loans                                                6f.                          0.00
Total claims                                                                              $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.
                                                                                                              0.00
                                                                                          $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.                   22,819.44
                                                                                         $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                      6i.   + $_________________________
                                                                                                   2,132,101.62


                6j. Total. Add lines 6f through 6i.                              6j.
                                                                                                    2,154,921.06
                                                                                          $_________________________




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